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                                       UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA


 UNIVERSITY OF CALIFORNIA
 STUDENT ASSOCIATION,

                          Plaintiff,

              v.                                          Case No. 1:25-cv-00354-RDM

 DENISE CARTER, in her official capacity as
 Acting Secretary of Education, et al.,

                          Defendants.


                      JOINT STIPULATION AS TO BRIEFING SCHEDULE
        At the February 11, 2025 Status Conference in the above-captioned matter, the Court indicated

that it would consider a joint stipulation from the parties agreeing to an extended briefing and hearing

schedule on Plaintiff ’s motion for a temporary restraining order, ECF No. 9. The parties have further

conferred, and respectfully request that the Court modify the briefing and hearing schedule and order

as follows:

        •      Defendants shall file their response to Plaintiff ’s motion no later than February 13, 2025,

               at 10am;

        •      Plaintiff shall file any reply in support of its motion no later than February 13, 2025, at

               11:59pm; and

        •      A hearing on Plaintiff ’s motion will be held on February 14, 2025, or at the Court’s

               convenience.

        Until at least February 17, 2025:

        •      Defendants will not permit (1) any federal employee, consultant or volunteer that has

               onboarded or will onboard at the Department of Education as either an agency employee

               or detailee to the agency, and whose responsibilities include implementation of President

               Trump’s Executive Order titled “Establishing and Implementing the President’s

               Department of Government Efficiency, (2) any employees or contractors (including
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    volunteers and special government employees) of the U.S. DOGE Service, or (3) any other

    special government employee or government employee detailed to the Department of

    Education after January 19, 2025, to access any of the following Department of Education

    systems:

            o National Student Loan Data System

            o Common Origination and Disbursement System

            o Future Act System

            o Financial Management System

            o Partner Connect

            o Person Authentication Service

            o Common Services for Borrowers

            o Data Challenges and Appeals Solutions (DCAS) System

            o Health Education Assistance Loan (HEAL) Program

            o Aid Awareness and Application Processing

            o Enterprise Data Management and Analytics Platform Services (EDMAPS)

            o Postsecondary Education Participants System (PEPS)

            o TRIO Programs Annual Performance Report (APR)

•   Defendants will not permit any federal employee or volunteer to redisclose information

    obtained from any such system to any of the employees or volunteers identified in the

    first bulleted sentence; and

•   Defendants will not permit the use or further disclosure of any information obtained from

    any such systems by any of the employees or volunteers identified in the first bulleted

    sentence.
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Dated: February 11, 2024                   Respectfully submitted,

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Counsel for Plaintiff                      Counsel for Defendants


SO ORDERED

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United States District Judge
